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UAET (02-2008)




                 Unopposed Application for Extension of Time to Answer Complaint
                     Attach this form to the Application for Extension of Time to Answer Complaint event.



C ASE AND D EADLINE INFORMATION



Civil Action No.: 2:23-cv-00521-JRG
Name of party requesting extension: Yealink Network Technology Co., Ltd.
Is this the first application for extension of time in this case?                         ✔ Yes
                                                                                              No
            If no, please indicate which application this represents:                         Second
                                                                                              Third
                                                                                              Other ___________
Date of Service of Summons: 11/29/2023
Number of days requested:                        30 days
                                              15 days
                                                    16 days
                                            ✔ Other _____
New Deadline Date: 03/14/2024 (Required)


A TTORNEY FILING APPLICATION INFORMATION



            Full Name: Elizabeth M. Chiaviello
            State Bar No.: 24088913
            Firm Name: Morgan, Lewis & Bockius LLP
            Address: 1717 Main Street, Suite 3200​
                         Dallas, TX 75201-7347


            Phone: 214-466-4000
            Fax: 214-466-4001
            Email: elizabeth.chiaviello@morganlewis.com
                  A certificate of conference does not need to be filed with this unopposed application.
